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                           U N ITED STA TES D ISTRIC T COU RT
                           SO UTHERN D ISTRICT O F FLO RIDA
                         CASE NO.15-14046-CR-M ARTlN EZ/LYNCH

 U N ITED STA TES OF A M ERICA

        Plaintiff,


 TM VIS W AYNE CARR,

        Defendant.
                                 /

        O R D ER AD O PTIN G M A G ISTM TE 'S REPO RT AN D RE CO M M EN D AT IO N

        THIS CAUSE came beforetheCourtupon theOrderofReference from theDistrict
 Courtto conductaChangeofPleabefore aM agistrateJudge.
        THE M ATTER wasreferred to ChiefM agistrateJudgeFrank J.Lynch Jr,on October

 21,2015.A ReportandRecommendationwasfiledonOctober28,2015,(ECF No.3061,
 recommending thattheDefendant'spleaofguiltybeaccepted. During the ChangeofPlea
 hearing,theM agistrateJudge questionedtheDefendantregarding hiswaiverofappealin which
 the Defendantacknow ledged on the record thathe w as waiving or giving up a11rightsto appeal
 any sentenceimposed bytheDistrictCourtin thiscaseexcepttmderthe lim ited circum stances
 containedwithin theappealwaiverprovision from thePleaAgreem ent.

        ThepartieswereaffordedtheopportunitytofileobjectionstotheReportand
 Recom mendation,howevernonewere filed.TheCourthasreviewed theentire fileand record

 andnotesthatnoobjectionshavebeenfiled.Aftercarefulconsideration,theCourtaffirmsand
 adoptstheReportand Recom m endation. Accordingly,itishereby:

        ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.3061of
 U nited StatesM agistrate Judge Frank J.Lynch Jr,ishereby A FFIR M ED and A D O PT ED in its
 entirety.
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         TheDefendantisadjudgedguiltytoCountOneoftheIndictmentwhich chargesthe
  Defendantwith conspiracyto distributeandpossesswith intentto distributefifty(50)grnmsor
  moreofmethamphetamine,inviolationofTitle21,United StatesCode,Sections841(a)(1),
  841(b)(1)(A)and846.
          DONEAND ORDERED inChambersatMiami,Florida,thiG dayofNovember,
  2015.


                                              JO SE    M AR
                                              U N IT    STATES D lS    CT JU DG E



  Copied:Hon.M agistrateLynch Jr.
  A11CounselOfRecord
  U.S.Probation Office
